20-11161-tmd Doc#117 Filed 03/22/21 Entered 03/22/21 12:16:02 Main Document Pg 1 of
                                         6
20-11161-tmd Doc#117 Filed 03/22/21 Entered 03/22/21 12:16:02 Main Document Pg 2 of
                                         6
20-11161-tmd Doc#117 Filed 03/22/21 Entered 03/22/21 12:16:02 Main Document Pg 3 of
                                         6
20-11161-tmd Doc#117 Filed 03/22/21 Entered 03/22/21 12:16:02 Main Document Pg 4 of
                                         6
20-11161-tmd Doc#117 Filed 03/22/21 Entered 03/22/21 12:16:02 Main Document Pg 5 of
                                         6
20-11161-tmd Doc#117 Filed 03/22/21 Entered 03/22/21 12:16:02 Main Document Pg 6 of
                                         6
